                      IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF ALASKA

CONOCOPHILLIPS ALASKA, INC.

              Plaintiff,

       vs.

FORREST WRIGHT; AMANDA                       Case No.: 3:19-cv-00311-SLG
WRIGHT; NATHAN KEAYS; KELLY
KEAYS; ECO EDGE ARMORING, LLC;
DAVID BENEFIELD; WRIGHT
CAPITAL INVESTMENTS, LLC; and
DB OILFIELD SUPPORT SERVICES,

              Defendants.

                           ORDER GRANTING STIPULATION

       THIS COURT, having considered the Stipulation filed by Plaintiff and Defendant

Kelly Keays (the “Parties”) on December 19, 2019 at Docket 24, hereby GRANTS the

Parties’ Stipulation as follows:



1.      Ms. Keays represents that she does not have access to funds held in any accounts

owned or controlled by Forrest Wright, Amanda Wright, David Benefield, Wright Capital

Investments, LLC, Eco Edge Armoring, LLC, or DB Oilfield Support Services.

2.     Ms. Keays represents that she does not have access to Nathan Keays’ AlaskaUSA

checking account or any other account owned or controlled by Mr. Keays, except as

identified in ¶ 3 of the Stipulation.




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3.      Ms. Keays and Mr. Keays previously shared joint access to a Wells Fargo

Checking Account (XXXX 0051) and a Wells Fargo Money Market Savings Account

(XXXX 4507). These accounts were frozen pursuant to the Court’s order granting

Plaintiff’s Request for a TRO. See Docket 9.

4.      Ms. Keays agrees to provide ConocoPhillips with all bank statements from the

Wells Fargo Checking Account (account ending 0051) and Wells Fargo Money Market

Savings Account (account ending 4507) between April 2019 and December 2019 within

3 business days of the execution of this Stipulation.

5.      Ms. Keays agrees that Wells Fargo Checking Account (account ending 0051) and

Wells Fargo Money Market Savings Account (account ending 4507) shall remain frozen

and not subject to any disbursements or transfers of any type during the pendency of this

case.

6.      ConocoPhillips agrees that Ms. Keays shall be permitted to establish a new,

independent checking account with Wells Fargo or another local banking institution for

the purpose of depositing her bi-monthly paychecks from her employer. Ms. Keays may

withdraw funds from this account to pay her own living expenses and to take care of the

needs of her two minor children.

7.      ConocoPhillips agrees that Ms. Keays shall be permitted to withdraw funds from

her employer-sponsored retirement plan, subject to any restrictions or authorizations

required by said employer-sponsored retirement plan, for the purpose of covering any

necessary living expenses for her family, and for paying for her own attorney’s fees

related to this action.
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8.       Nothing in this Stipulation is to be construed or inferred as an admission of

liability to the allegations in the Complaint in any way.

9.       The Parties reserve the right to move to vacate this Stipulation, which shall

otherwise expire at the conclusion of the civil action or by the entry of any other Court

order.

         IT IS SO ORDERED.


DATED: December 26, 2019                            By:      /s/ Sharon L. Gleason
                                                             Hon. Sharon Gleason
                                                             U.S. District Court




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